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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                    EUGENE DIVISION



 KELSEY CASCADIA ROSE JULIANA, et al.,            Case No. 6:15-cv-01517-TC
     Plaintiffs,
                                                  FEDERAL DEFENDANTS’
                                                  ANSWER TO FIRST AMENDED
 v.                                               COMPLAINT FOR
                                                  DECLARATORY AND
                                                  INJUNCTIVE RELIEF
 UNITED STATES OF AMERICA, et al.,                (ECF NO. 7)
      Federal Defendants.




       FED. DEFS.’ ANSWER                  1
       Pursuant to Federal Rule of Civil Procedure 8(b), the United States of America, et al.

(“Federal Defendants”) by and through undersigned counsel, submits the following Answer to the

claims and allegations in the “First Amended Complaint for Declaratory and Injunctive Relief”

(“Complaint”) (ECF No. 7) filed by Kelsey Cascadia Rose Juliana, et al. (“Plaintiffs”).

       The numbered paragraphs of this Answer correspond to the numbered paragraphs of

Plaintiff’s Complaint.1

                                       “INTRODUCTION”

       1.      With respect to the first sentence, Federal Defendants admit that for over fifty

years some officials and persons employed by the federal government have been aware of a

growing body of scientific research concerning the effects of fossil fuel emissions on

atmospheric concentrations of CO2—including that increased concentrations of atmospheric CO2

could cause measurable long-lasting changes to the global climate, resulting in an array of severe

deleterious effects to human beings, which will worsen over time. The term “United States,” as

used in the Complaint is vague ambiguous and Federal Defendants cannot attribute knowledge to

it. Federal Defendants lack sufficient knowledge or information to form a belief about the truth

of the remaining allegations in this sentence, and on this basis deny them. Federal Defendants

lack sufficient knowledge or information to form a belief about the truth of the allegations in the

second sentence, and on this basis deny them. Federal Defendants deny the allegation, in the

third sentence, that it has continued a policy or practice of allowing the exploitation of fossil

fuels. With respect to the fourth sentence, Federal Defendants admit the allegation and aver that




1
 The section headings and subheadings used in this Answer follow the headings and
subheadings used in Plaintiffs’ Complaint and are included solely for the purpose of
organizational convenience in matching the answers provided herein with the allegations in the
Complaint. The headings are not part of Federal Defendants’ answer to the allegations.


                                                  2
the Department of Energy (“DOE”) approval of export of liquefied natural gas (“LNG”) from the

proposed Jordan Cove terminal in Coos Bay to nations with which there is in effect a free trade

agreement (“FTA”) requiring national treatment for trade in natural gas (“FTA Nations”) under

Section 3(c) of the Natural Gas Act, and therefore did not include any environmental review or

other public interest analysis by DOE. Section 3(c) states, in relevant part: “[T]he exportation of

natural gas to a nation with which there is in effect a free trade agreement requiring national

treatment for trade in natural gas, shall be deemed to be consistent with the public interest, and

applications for such … exportation shall be granted without modification or delay.” 15 U.S.C.

§ 717b(c). In issuing DOE/FE Order No. 3041 to Jordan Cove on December 7, 2011, DOE

complied with this statutory mandate: “The instant Application falls within section 3(c), as

amended, and therefore, DOE/FE is charged with granting the Application without modification

or delay.” (DOE/FE Order No. 3041 at 11). Further, on March 11, 2016, the Federal Energy

Regulatory Commission (“FERC”)—which has authority over the siting, construction, and

operation of LNG export facilities under NGA section 3—issued an order denying Jordan Cove

Energy Project, L.P.’s (“Jordan Cove”) application to site, construct, and operate the Jordan

Cove LNG Export Terminal and associated facilities. On December 9, 2016, FERC denied

Jordan Cove’s request for rehearing of that denial. 157 FERC ¶ 61,194, P 33 (Dec. 9, 2016).

Thus, at this time, Jordan Cove lacks authority from FERC to construct and operate the proposed

export terminal—meaning it cannot export LNG pursuant to DOE/FE Order No. 3041. Federal

Defendants lack sufficient knowledge or information to form a belief about the truth of the

allegations in the fifth, sixth, and seventh sentences, and on this basis deny them.

       2.      The allegations characterize a 1965 White House Report, “Restoring the Quality

of Our Environment,” which speaks for itself and is the best evidence of its contents.




                                                 3
       3.      The allegations in the first and second sentences characterize a 1990 report by

EPA entitled “Policy Options for Stabilizing Global Climate” and a 1991 assessment by the

Congressional Office of Technology Assessment entitled “Changing by Degrees: Steps to

Reduce Greenhouse Gases,” each of which speaks for itself and is the best evidence of its

contents. With respect to the third sentence, Federal Defendants deny the allegations and aver

that neither document constituted a “plan” that was intended to be “implemented” by Federal

Defendants.

       4.      Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the first sentence, and on this basis deny them. Federal

Defendants deny the allegations in the second sentence and aver that there is no scientific

consensus that 350 parts per million (“ppm”) is the maximum safe level of atmospheric CO2

concentration that is necessary to restore a stable climate system.

       5.      Federal Defendants deny the allegations in the first and third sentences. With

respect to the second sentence, the allegations are too vague for Federal Defendants to admit or

deny. Federal Defendants aver that the Environmental Protection Agency (“EPA”) has assessed

the effects of greenhouse-gas pollution, and has concluded that this pollution endangers the

public health and welfare of current and future generations and thus requires Clean Air Act

regulation. 74 Fed. Reg. 66,496 (Dec. 15, 2009); 81 Fed. Reg. 54,422 (Aug. 15, 2016). With

respect to the allegations in the fourth sentence, Federal Defendants deny the allegations and

aver that global atmospheric concentrations of CO2, methane, and nitrous oxide are at

unprecedentedly high levels compared to the past 800,000 years of historical data and pose risks

to human health and welfare.




                                                 4
       6.      Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph and on this basis denies them. Federal

Defendants aver that there has been a substantial body of scientific publications since 1965

regarding the harms caused by elevated atmospheric concentrations of greenhouse gases

(“GHGs”), including from emissions related to fossil fuel combustion.

       7.      Federal Defendants admit that they permit, authorize, and subsidize fossil fuel

extraction, development, consumption, and exportation. Federal Defendants admit that fossil

fuel extraction, development, and consumption produce CO2 emissions and that past emissions

of CO2 from such activities have increased the atmospheric concentration of CO2. The

remaining allegations in the first sentence are too vague for Federal Defendants to admit or deny.

Federal Defendants aver that EPA has concluded under specific provisions of the Clean Air Act

that, combined, emissions of six well-mixed GHGs are the primary and best understood drivers

of current and projected climate change. 74 FR 66496 (section 202); 81 FR 54422 (section 231).

The allegations in the second sentence constitute legal conclusions to which no response is

required. Federal Defendants admit the allegations in the third sentence and aver that from 1850

to 2012, CO2 emissions from the United States (including from land use) constituted more than

one-quarter of cumulative global CO2 emissions.

       8.      The allegations in the first sentence, and in particular the phrase “zone of danger,”

are vague and ambiguous, and Federal Defendants lack sufficient knowledge or information to

form a belief about the truth of the allegations, and on those bases deny them. Federal

Defendants aver that current and projected concentrations of six well-mixed GHGs, which

include CO2, constitute a threat to public health and welfare. The remaining allegations in the

second, third, and fourth sentences are conclusions of law to which no response is required.




                                                 5
       9.      The allegations in the first and fourth sentences are conclusions of law to which

no response is required. Federal Defendants deny the allegations in the second sentence and aver

that the Jordan Cove LNG Terminal has not been constructed. Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the allegations in the third

sentence, and on this basis deny them.

       10.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the first, second, and third sentences, and on this basis deny

them. With respect to the fourth sentence, Federal Defendants lack sufficient knowledge or

information to form a belief about the truth of the allegation of “carbon overshoot” and on this

basis deny it. Federal Defendants deny the remainder of the fourth sentence and aver that the

consequences of climate change are already occurring and, in general, those consequences will

become more severe with more fossil fuel emissions.

       11.     Federal Defendants deny the allegations in the first, second, and third sentences.

With respect to the third sentence, Federal Defendants aver FERC denied Jordan Cove’s

application to construct and operate the Jordan Cove LNG Export Terminal and thus no

approved exports of LNG have occurred. Federal Defendants lack sufficient knowledge or

information to form a belief about the truth of the allegations in the fourth sentence, and on this

basis deny them.

       12.     The allegations in the first sentence consist of Plaintiffs’ prayers for relief to

which no response is required. To the extent a response is required, Federal Defendants deny

that Plaintiffs are entitled to the relief requested. The allegations in the second sentence

constitute legal conclusions to which no response is required.

                                “JURISDICTION AND VENUE”




                                                  6
       13.     The allegations constitute legal conclusions to which no response is required.

       14.     The allegations constitute legal conclusions to which no response is required.

       15.     The allegations constitute legal conclusions to which no response is required.

                                         “PLAINTIFFS”

       16.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations and on this basis deny them.

       17.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the second and third sentences and on this basis deny them.

Federal Defendants deny the allegation in the first sentence that projected drought and lack of

snow are caused by Federal Defendants.

       18.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       19.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       20.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       21.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       22.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the first and third sentences, and on this basis deny them.

Federal Defendants deny the allegations in the second sentence and aver that the Jordan Cove

LNG Terminal has not been constructed and, at this time, Jordan Cove lacks authority from




                                                  7
FERC to construct and operate the proposed export terminal—meaning it cannot export LNG

pursuant to DOE/FE Order No. 3041.

       23.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       24.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations and on this basis deny them.

       25.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them. Federal Defendants aver that

FERC has denied the application to site, construct, and operate the proposed Jordan Cove LNG

Export Terminal and the proposed Pacific Connector Natural Gas Pipeline. Therefore, at this

time, Jordan Cove cannot export LNG pursuant to DOE/FE Order No. 3041.

       26.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       27.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the first and second sentences, and on this basis deny them.

Federal Defendants deny the allegation in the third sentence that climate change is caused by

Federal Defendants. Federal Defendants deny the allegations in the fourth sentence that ocean

acidification, warming, and sea level rise are caused by Federal Defendants.

       28.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph and on this basis deny them. Federal

Defendants deny the allegation in the third sentence that climate change is caused by Defendants.

       29.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph and on this basis deny them. Federal




                                                 8
Defendants deny the allegation in the first sentence that climate change is caused by Federal

Defendants.

       30.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       31.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the seventh sentence that climate change is caused by Federal

Defendants.

       32.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the seventh sentence that climate destabilization is caused by

Federal Defendants.

       33.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegations in the eighth sentence that rising sea levels are caused by

Federal Defendants, deny the allegation in the ninth sentence that ocean acidification is caused

by Federal Defendants and the allegation in the tenth sentence that both rising sea level and

ocean acidification are caused by Federal Defendants.

       34.     Federal Defendants deny the allegations in the third sentence and aver that the

Pacific Connector Natural Gas Pipeline has not been constructed and, at this time, Jordan Cove

lacks authority from FERC to construct and operate the proposed export terminal—meaning it

cannot export LNG pursuant to DOE/FE Order No. 3041. Federal Defendants lack sufficient




                                                 9
knowledge or information to form a belief about the truth of the allegations in the first, second,

and fourth sentences, and on this basis deny them.

       35.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the second and fourth sentence that climate change is caused

by Federal Defendants.

       36.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       37.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the third sentence that climate change is caused by Federal

Defendants.

       38.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       39.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the third sentence that warmer water temperatures, rising sea

levels, and ocean acidification are caused by Federal Defendants.

       40.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the second sentence that climate change is caused by Federal

Defendants.




                                                 10
       41.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis denies them. Federal

Defendants deny the allegation in the first and sixth sentence that climate change is caused by

Federal Defendants.

       42.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the first sentence that climate change is caused by Federal

Defendants.

       43.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegations in the third sentence that warmer water temperatures, sea level

rise, and ocean acidification are caused by Federal Defendants.

       44.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them.

       45.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the first sentence that climate impacts such as increased

temperatures and drought conditions are caused by Federal Defendants.

       46.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the third sentence that climate change is caused by Federal

Defendants’ actions.




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       47.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       48.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       49.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       50.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       51.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       52.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the first sentence that climate change is caused by Federal

Defendants.

       53.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       54.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the first sentence that climate change is caused by Federal

Defendants.

       55.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal




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Defendants deny the allegation in the third sentence that climate change is caused by Federal

Defendants.

       56.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis denies them. Federal

Defendants deny the allegation in the fifth sentence that increasing temperatures are caused by

Federal Defendants.

       57.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       58.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       59.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       60.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the second sentence that increasing temperatures are caused by

Federal Defendants.

       61.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the second sentence that increased temperatures, low water

levels in lakes, and abnormal seasonal variations are caused by Federal Defendants. Federal

defendants deny the allegation in the fourth sentence that increased surface and ocean

temperatures, sea level rise, and ocean acidification are caused by Federal Defendants. Federal

Defendants deny the allegation in the fifth sentence increased water temperature, drought, and




                                                 13
       62.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the fourth sentence that a July 2015 heat wave was caused by

the acts of Federal Defendants.

       63.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them.

       64.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the first sentence that climate changed is caused by the acts of

Federal Defendants.

       65.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the fourth sentence that climate changed is caused by the acts

of Federal Defendants.

       66.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the sixth sentence that climate changed is caused by the acts of

Federal Defendants.

       67.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the fourth sentence that climate changed is caused by the acts

of Federal Defendants and deny the allegation in the eighth sentences that drought conditions and

forest fires are caused by the acts of Federal Defendants.




                                                14
       68.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them.

       69.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the third sentence that climate changed and ocean acidification

are caused by Federal Defendants.

       70.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the first sentence that ocean acidification, sea-level rise,

increased sea surface temperature, alteration in ocean circulation, and increased storm intensity

are caused by the acts of Federal Defendants.

       71.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       72.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them. Federal Defendants aver that

White Plains New York, where Plaintiff resides, is at an elevation 213 feet above sea level.

       73.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       74.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       75.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the fifth sentence that changing temperatures are caused by the




                                                 15
acts of Federal Defendants and deny the allegation in the seventh sentence that climate change is

caused by Federal Defendants.

       76.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       77.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the second sentence that climate change is caused by Federal

Defendants.

       78.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the sixth sentence that ocean acidification and climate change

are caused by Federal Defendants.

       79.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       80.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the first sentence that climate change are caused by Federal

Defendants.

       81.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       82.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.




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       83.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       84.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       85.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

       86.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the fourth sentence that climate change is caused by Federal

Defendants.

       87.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them.

       88.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the third sentence that climate change is caused by Federal

Defendants.

       89.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis deny them. Federal

Defendants deny the allegation in the second sentence that climate change is caused by Federal

Defendants.

       90.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.




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        91.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the paragraph, and on this basis denies them. The allegations

in the fifth and sixth sentences also constitute legal conclusions to which no response is required.

        92.    The allegations constitute legal conclusions to which no response is required.

        93.    Federal Defendants admit that Dr. James Hansen is a former Director of the

NASA Goddard Institute for Space Studies, and that he is presently an adjunct professor at

Columbia University’s Earth Institute, where he directs a program in Climate Science,

Awareness, and Solutions. Federal Defendants lack sufficient knowledge or information to form

a belief about the truth of the remaining allegations in the paragraph, and on this basis deny

them.

        94.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

        95.    Federal Defendants admit the allegations in this paragraph.

        96.    With respect to the second and fourth sentences, Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the allegations, and on

this basis deny them. The allegations in the first, third, fifth, sixth, seventh and eighth sentences

constitute legal conclusions to which no response is required. With respect to the seventh and

eighth sentences, Federal Defendants aver that DOE’s approval of LNG exports from the

proposed Jordan Cove LNG Terminal to FTA nations in DOE/FE Order No. 3041 was mandated

by Section 3(c) of the Natural Gas Act, 15 U.S.C. § 717b(c). Accordingly, DOE’s approval did

not include any environmental review or other public interest analysis by DOE, nor any

opportunity for public participation in the decision-making process. See id. Further, on March

11, 2016, FERC issued an order denying Jordan Cove’s application to site, construct, and operate




                                                 18
the Jordan Cove LNG Export Terminal and associated facilities. On December 9, 2016, FERC

denied Jordan Cove’s request for rehearing of the denial. 157 FERC ¶ 61,194, P 33 (Dec. 9,

2016). Thus, at this time, Jordan Cove lacks authority from FERC to construct and operate the

proposed export terminal—meaning it cannot export LNG pursuant to DOE/FE Order No. 3041.

       97.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations, and on this basis deny them.

                                         “DEFENDANTS”

       98.     The first, second, third, fourth, and eight sentences consist of conclusions of law

to which no response is required. The allegations in the fifth, sixth, and seventh sentences are

too vague for Federal Defendants to admit or deny, and are denied on that basis.

       99.     Federal Defendants admit the allegation in the first sentence that Barack Obama is

the President of the United States. The remaining allegations in the first sentence characterize

authorities set forth in the United States Constitution, which speaks for itself and is the best

evidence of its contents. The allegations in the second sentence contain legal conclusion for

which no response is required. The allegations in fourth sentence are too vague to respond to

and consist in part of legal conclusions to which no response is required.

       100.    Federal Defendants deny the allegations in the first sentence that the Office of the

President of the United States includes the Council on Environmental Quality (“CEQ”), the

Office of Management and Budget (“OMB”), and the Office of Science and Technology Policy

(“OSTP”) and aver that each of these entities are part of the Executive Office of the President.

               a.      The duties of the Council on Environmental Quality are contained in 42

U.S.C. § 4344. Federal Defendants deny the allegations to the extent inconsistent with that

statutory provision.




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               b.      The first sentence consists of Plaintiffs’ characterization of the OMB

mission statement, which speaks for itself and is the best evidence of its contents. See

https://www.whitehouse.gov/omb/organization_mission. Federal Defendants deny the

allegations in the second sentence.

               c. Federal Defendants deny the allegations in the first sentence and aver that

OSTP’s responsibilities are set forth in its organic statute at 42 U.S.C. § 6611 et seq. The

allegations in the second sentence characterize authorities granted by Congress under the

National Science and Technology Policy, Organization, and Priorities Act of 1976, and

Executive Orders 13226 and 13539, which speak for themselves and are the best evidence of

their contents. Federal Defendants deny the allegations in the third sentence.

       101.    Federal Defendants deny the allegations in this paragraph.

       102.    Federal Defendants admit that Christy Goldfuss is the current Managing Director

of CEQ and deny the remaining allegations in this paragraph.

       103.    Federal Defendants admit that Shaun Donovan is the current Director of OMB

and deny the remaining allegations in this paragraph.

       104.    Federal Defendants admit that Dr. John P. Holdren is the current Director of

OSTP and deny the remaining allegations in this paragraph.

       105.    Federal Defendants admit the allegations if the first three sentences. Federal

Defendants deny the allegation in the fourth sentence and aver that there is no direct federal

regulation of domestic energy production. Further, FERC (not DOE) regulates interstate

transportation of oil and gas by pipeline. Federal Defendants admit the allegations in the fifth

sentence and aver that the Energy Policy Act mandates that 75 percent of light-duty vehicle

acquisitions by federal agencies be alternative fueled vehicles. 42 U.S.C. § 13212(b)(1)(D).




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These requirements apply to agency fleets of 20 or more LDVs that are centrally fueled and

operated in a metropolitan statistical area/consolidated metropolitan area (MSA/CMSA). 42

U.S.C. § 13212(b)(3). Federal Defendants admit the allegation in the sixth sentence as aver that

under the Energy Policy and Conservation Act of 1975, as amended, “covered products and

equipment” are subject to energy conservation standards set either by statute or DOE regulations.

42 U.S.C. §§ 6291-6317.

               a.      Federal Defendants deny that FERC is an agency of DOE and aver that

FERC is an independent government agency, officially organized as part of DOE. Federal

Defendants admit the remainder of the sentence.

       106.    The allegations in the first sentence are legal conclusions for which no response is

required. Federal Defendants deny the allegations in the second sentence.

       107.    The allegations characterize DOE/FE Order No. 3041 which speaks for itself and

is the best evidence of its contents. Federal Defendants aver that DOE’s approval of LNG

exports from the proposed Jordan Cove LNG Terminal to FTA nations was required under

Section 3(c) of the Natural Gas Act, which states, in relevant part: “[T]he exportation of natural

gas to a nation with which there is in effect a free trade agreement requiring national treatment

for trade in natural gas, shall be deemed to be consistent with the public interest, and applications

for such … exportation shall be granted without modification or delay.” 15 U.S.C. § 717b(c). In

issuing DOE/FE Order No. 3041 to Jordan Cove on December 7, 2011, DOE complied with this

statutory mandate: “The instant Application falls within section 3(c), as amended, and therefore,

DOE/FE is charged with granting the Application without modification or delay.” (DOE/FE

Order No. 3041 at 11). Further, on March 11, 2016, FERC—which has authority over the siting,

construction, and operation of LNG export facilities under NGA section 3—issued an order




                                                 21
denying Jordan Cove’s application to site, construct, and operate the Jordan Cove LNG Export

Terminal and associated facilities. On December 9, 2016, FERC denied Jordan Cove’s request

for rehearing of that denial. 157 FERC ¶ 61,194, P 33 (Dec. 9, 2016). Thus, at this time, Jordan

Cove lacks authority from FERC to construct and operate the proposed export terminal—

meaning it cannot export LNG pursuant to DOE/FE Order No. 3041.

        108.    Federal Defendants admit the allegations contained in this paragraph.

        109.    Federal Defendants admit the allegations in the first sentence. The second and

third sentences consist of Plaintiffs characterization of the mission of the Department of Interior

(DOI), which is stated in the DOI strategic plan, which speaks for itself and is the best evidence

of its contents. See https://www.doi.gov/sites/doi.gov/files/migrated/pmb/ppp/upload/DOI-

Strategic-Plan-for-FY-2014-2018-POSTED-ON-WEBSITE-4.pdf.

        110.    Federal Defendants admit the allegations in the first sentence, deny the allegations

in the second sentence, and aver that most of the land suitable for oil and gas development is

non-federal.

        111.    Federal Defendants admit the allegations in the first sentence except to the extent

that it characterizes the Outer Continental Shelf Lands Act of 1953, 43 U.S.C. § 1333(a), which

speaks for itself and is the best evidence of its contents. Federal Defendants admit the

allegations in the second sentence. Federal Defendants deny the allegations in the third sentence

and aver that the provision for the advanced payment of coal royalties originated in the Mineral

Leasing Act of 1920, 41 Stat. 439, ch. 85, § 7 (1920) and further that Energy Policy Act included

incentives to drill for gas.




                                                 22
          112.   Federal Defendants admit that many of the activities DOI permits on public lands

result in emission of CO2 into the atmosphere. The remaining portions of the paragraph are

denied.

          113.   Federal Defendants admit the allegations in this paragraph.

          114.   Federal Defendants admit the allegations in the first sentence. The allegations in

the second sentence constitute legal conclusions to which no response is required.

                 a.     The allegations characterize authorities granted under the Department of

Transportation Act, 49 U.S.C. § 305, as amended which speaks for itself and is the best evidence

of its contents. To the extent a response is required, Federal Defendants admit that the Federal

Aviation Administration, the Federal Highway Administration, and the Pipeline and Hazardous

Materials Safety Administration are operating administrations within the Department of

Transportation (“DOT”). Federal Defendants admit that the Federal Aviation Administration

and the Federal Highway Administration administer programs that provide financing for the

construction and maintenance of a portion of the nation’s transportation infrastructure but deny

that the Pipeline and Hazardous Materials Safety Administration oversees and regulates spending

programs that finance construction and maintenance of our nation’s transportation infrastructure.

                 b.     The allegations characterize authorities granted under the Energy Policy

and Conservation Act as amended by the Energy Independence and Security Act of 2007, 49

U.S.C. § 32902, which speaks for itself and is the best evidence of its contents. Federal

Defendants aver that DOT, through the National Highway Traffic Safety Administration, sets

fuel economy standards for passenger cars and light trucks produced for sale in the United States.

          115.   Federal Defendants deny the allegations in this paragraph.

          116.   Federal Defendants admit the allegations in this paragraph.




                                                 23
       117.    Federal Defendants admit that the United States Department of Agriculture

(“USDA”) is a federal agency. The remaining allegations in the first sentence are Plaintiffs’

characterization of the USDA vision statement, which speaks for itself and is the best evidence

of its contents. The allegations in the second sentence consist of Plaintiffs’ characterization of

the USDA mission statement, which speaks for itself and is the best evidence of its contents. See

http://www.usda.gov/wps/portal/usda/usdahome?navid=ABOUT_USDA. Federal Defendants

avers that neither the vision statement nor the mission statement carry the force of law. With

respect to the third sentence, Federal Defendants admit that USDA plays a role with respect to

our nation’s food and agriculture, as well as certain natural resources including national forests,

and denies the remaining allegations in this sentence.

               a.       Federal Defendants deny that it authorizes coal production on National

Forest System lands, and aver that about 25 percent of the coal production in the United States

occurs on such lands.

               b.       The allegations in first sentence characterize authorities granted under the

Mineral Leasing Act of 1920, the Federal Onshore Oil and Gas Leasing Reform Act, and the

Mineral Leasing Act for Acquired Lands, which speaks for themselves and are the best evidence

of their contents. The allegations in second sentence characterize authorities granted under the

Mineral Leasing Act of 1920 and the Surface Mining Control and Reclamation Act, 30 U.S.C. §

1273, which speak for themselves and are the best evidence of their contents.

               c.       Federal Defendants deny the allegations in this paragraph.

               d.       Federal Defendants deny the allegations in the first sentence are denied.

The allegations in the second sentence of subparagraph d are denied.      Federal defendants lack




                                                 24
sufficient knowledge or information to form a belief about the truth of the allegations in the

second sentence, and on this basis deny them.

       118.    Federal Defendants admit the allegation in this paragraph.

       119.    Federal Defendants admit that the United States Department of Commerce

(“Commerce”) is a federal agency. The remaining allegations in the first sentence are Plaintiffs’

characterization of Commerce’s mission statement, which speaks for itself and is the best

evidence of its contents. See https://www.commerce.gov/page/about-commerce. Federal

Defendants admit the allegation that Commerce has authority over equipment that monitors

GHGs and aver that specifically the National Oceanic and Atmospheric Administration

(“NOAA”) operates the monitoring equipment. The remaining allegations in the second

sentence consist of Plaintiffs’ characterizations authorities granted under Title 15 of the United

States Code, which speaks for itself and is the best evidence of its contents.

               a.      Federal Defendants admit that the National Institute of Standards and

Technology (“NIST”) is a Federal agency in the Department of Commerce that develops

measurement science, predictive models, and performance metrics to improve the energy

efficiency of building components and systems, and advances measurement science, standards,

and technology related to energy utilization in buildings.

               b.      Federal Defendants admit that the International Trade Administration

(“ITA”) is a Federal agency in the Department of Commerce but deny that ITA’s Office of

Energy and Environmental Industries promotes fossil fuel export opportunities. The remaining

allegations consist of Plaintiffs’ characterization of authorities provided under Reorganization

Plan No. 3 of 1979, which speaks for itself and is the best evidence of its contents.




                                                 25
               c.       Federal Defendants admit that the Bureau of Industry and Security (“BIS”)

is a Federal agency in the Department of Commerce but deny that BIS currently issues permits to

export crude oil to all destinations, including Canada. Federal Defendants aver that as of

December 18, 2015, pursuant to section 101 of Division O of the Consolidated Appropriations

Act, 2016, United States Government officials are prohibited from implementing or enforcing

export controls on crude oil and that BIS subsequently removed 15 C.F.R. § 754.2 in

conformance with that prohibition. Federal Government further avers that a license continues to

be required for export of crude oil to sanctioned or embargoed countries or to certain prohibited

end users.

               d.       Federal Defendants admit that NOAA is a Federal agency in the

Department of Commerce. The remaining allegations consist of Plaintiffs’ characterization of

authorities provided under Reorganization Plan No. 4 of 1970, which speaks for itself and is the

best evidence of its contents.

               e.       The allegations in this paragraph constitute legal conclusions to which no

response is required.

       120.    Federal Defendants admit the allegation in this paragraph.

       121.    Federal Defendants admit the allegation in the first sentence that United States

Department of Defense is a federal agency. The second and third sentences appear to

characterize the 2014 Quadrennial Defense Review, which speaks for itself and is the best

evidence of its contents.

               a.       Federal Defendants lack sufficient knowledge or information to form a

belief about the truth of the allegations in this sentence.




                                                  26
               b.      The allegations in the first sentence consist of Plaintiff’s characterization

of authorities pursuant to the Clean Water Act and the Rivers & Harbors Act, which speak for

themselves and are the best evidence of their contents. The allegations in the second sentence

consist of Plaintiffs’ characterization of authorities pursuant to the Rivers & Harbors Act, which

speaks for itself and is the best evidence of its contents. Federal Defendants lack sufficient

knowledge or information to form a belief about the truth of the allegations in the third sentence,

and on this basis deny them.

       122.    Federal Defendants admit the allegations in this paragraph.

       123.    Federal Defendants admit that the United States Department of State (“State

Department”) is a federal agency. The remaining allegations in the first sentence consist of

Plaintiffs’ characterization of the State Department’s mission statement, which speaks for itself

and is the best evidence of its contents. See https://www.state.gov/s/d/rm/index.htm#mission. To

the extent the second sentence refers to the State Department’s role in international fora

regarding climate change, Federal Defendants admit the allegation. The third sentence consists

of Plaintiffs’ characterization of the 2014 Climate Action Report, which speaks for itself and is

the best evidence of its contents. Federal Defendants aver that the quoted language, including the

portions that Plaintiffs omit states that: “The United States is committed to continuing enhanced

action, together with the global community, to lead the global effort to achieve a low-emission,

climate-resilient future.” (emphasis added). This additional language underscores that climate

change is a global challenge that the United States addresses together with international partners

and stakeholders.

               a.      Federal Defendants admit the allegation.




                                                 27
               b.      Federal Defendants admit the allegations in this paragraph. Federal

Defendants aver that the quoted language is from the United States intervention at the Ad Hoc

Working Group on Long-term Cooperative Action Under the Convention, March 29, 2009. It is

important to keep in mind that these remarks come in the context of negotiations in which the

United States was seeking to forge a global agreement to address climate change – and thus in

context the Special Envoy was referring to the need for the global community to act together.

               c.      The allegations in the first two sentences consist in part of Plaintiffs’

characterization of requirements under Executive Order 13337 and pursuant to 3 U.S.C. § 301,

which speak for themselves and are the best evidence of their contents. Federal Defendants deny

all other allegations in the second sentence. While Federal Defendants admit that the State

Department considers pipeline applications pursuant to Executive Order 13337, Federal

Defendants deny the allegations in the third, fourth, and fifth sentences. Federal Defendants aver

that the State Department is not charged with regulating petroleum products that enter or leave

the country.

       124.    Federal Defendants admit the allegation in this paragraph.

       125.    Federal Defendants admit the allegation in the first sentence that the

Environmental Protection Agency (“EPA”) possesses regulatory authorities and issues permits

under the Clean Air Act, Clean Water Act, Safe Drinking Water Act, Resource Conservation and

Recovery Act, but aver that the while EPA possesses certain regulatory authorities under the

Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA) those

authorities do not include issuing permits. Federal Defendants deny the remainder of the first

sentence. The second sentence consists of Plaintiffs’ characterization of EPA’s mission

statement, which speaks for itself and is the best evidence of its contents. With respect to the




                                                 28
third sentence, Federal Defendants admit that the electricity generation sector accounted for 36.7

percent of national CO2 emissions in 2014, which was the economic sector accounting for the

greatest portion of annual CO2 emissions in the United States, and that EPA has established CO2

emission standards for certain types of power plants. The fourth sentence consists in part of

Plaintiffs’ vague characterizations of EPA’s regulatory activity and in part constitutes legal

conclusions to which no response is required.

               a.      This paragraph consists of Plaintiffs’ characterization of authority granted

under the Energy Policy Act of 2005, which speaks for itself and are the best evidence of its

contents.

       126.    The allegations in the first sentence characterize a 1990 report by EPA entitled,

“Policy Options for Stabilizing Global Climate,” which speaks for itself and is the best evidence

of its contents. To the extent a response is required, Federal Defendants deny the allegations this

paragraph.

       127.    The first sentence consists of Plaintiff’s characterization of the EPA rule titled

“Carbon Pollution Emission Guidelines for Existing Stationary Sources: Utility Generating

Units,” 80 Fed. Reg. 64,662 (Oct. 23, 2015) – also knowns as the “Clean Power Plan” – which

speaks for itself and is the best evidence of its contents. Federal Defendants aver that the Clean

Power Plan is not intended to “preserve a habitable climate system.” The second, third, and

fourth sentences consist of Plaintiff’s characterization of the scope of the Clean Power Plan,

which speaks for itself and is the best evidence of its contents. Federal Defendants deny the

allegation in the fifth sentence that the Clean Power Plan is based on “biased math” and deny the

remainder of that sentence. With respect to the sixth sentence, Federal Defendants admit that

CO2 emissions from the electric power sector in 2014, before the Clean Power Plan was




                                                 29
finalized, were approximately 18 percent below 2005 levels. With respect to the seventh

sentence, Federal Defendants admit that the Clean Power Plan does not require closure of all

fossil fuel-fired electric generating units, admit that full implementation of the Clean Power Plan

will likely lead to an increase in the use of natural gas for electricity generation, and admit that

methane is both the principle constituent of natural gas and a potent greenhouse gas contributing

to climate change. With respect to the eighth sentence Federal Defendants admit that the Clean

Power Plan does not directly address the extraction, production, and exportation of fossil fuels

and is not designed to return the United States’ emissions to 1990 levels and denies the

remainder as stated. With respect to the ninth sentence Federal Defendants admit that, although

the Clean Power Plan is an historic and important step to reduce carbon pollution that takes real

action on climate change, the Clean Power Plan is not designed to provide a complete response

to all climate change. The remainder of the ninth sentence constitutes legal conclusions to which

no response is required. With respect to the tenth sentence, the allegations are too vague to

respond to. To the extent a response is required, Federal Defendants deny the allegations as

stated.

          128.   Federal Defendants admit the allegation in this paragraph.

          129.   Federal Defendants deny the allegations in the first and second sentence as overly

broad and insufficiently specific. The third, fourth, fifth, and sixth sentences consist of legal

conclusions to which no response is required.

          130.   Federal Defendants admit that CO2 concentrations have increased to greater than

400 ppm but otherwise deny the allegations in the first sentence as overly broad and

insufficiently specific. The second and third sentences consist of legal conclusions to which no

response is required.




                                                  30
                                  “STATEMENT OF FACTS”

“I.    THE FEDERAL GOVERNMENT HAS KNOWN FOR DECADES THAT
       CARBON DIOXIDE POLLUTION WAS CAUSING CATASTROPHIC CLIMATE
       CHANGE AND THAT MASSIVE EMISSION REDUCTIONS AND A NATION-
       WIDE TRANSITION AWAY FROM FOSSIL FUELS WAS NEEDED TO
       PROTECT PLAINTIFFS’ CONSTITUTIONAL RIGHTS.”

       131.    With respect to the first sentence, Federal Defendants admit that prior to 1899

some scientists published estimates of the impact that elevated CO2 concentrations could have on

global temperature. Federal Defendants aver that the important details of the carbon cycle and

other aspects of climate change were not widely understood until many decades later. Federal

Defendants lack sufficient knowledge or information to form a belief about the truth of the

remaining allegations in this sentence, and on this basis deny them. With respect to the second

sentence, Federal Defendants admit that some scientists understood that CO2 was an important

factor in determining global temperatures, and deny the remaining allegations in the sentence.

With respect to the third sentence, Federal Defendants admit that by the early 1900s some

scientists had studied the potential impacts of increasing atmospheric concentrations of CO2 on

global climate change, and deny the remaining allegations in the sentence.

       132.    The assertions in this paragraph characterize and quote from a 1965 Report of

President Lyndon Johnson’s Scientific Advisors entitled “Restoring the Quality of Our

Environment,” which speaks for itself and is the best evidence of its content.

       133.    The assertions in this paragraph characterize and quote from the 1965 Report of

President Lyndon Johnson’s Scientific Advisors entitled “Restoring the Quality of Our

Environment,” (“1965 Report”), which speaks for itself and is the best evidence of its content.

       134.    The assertions in this paragraph appear to characterize the 1965 Report, which

speaks for itself and is the best evidence of its content. With respect to the first sentence, Federal

Defendants aver that while the 1965 Report concludes that increased CO2 emissions lead to


                                                 31
melting of the Antarctic icecap, rising sea levels, warming oceans, and acidifying waters, the

report does not conclude that increased CO2 emissions lead to “additional releasing of CO2 and

methane due to these events.” Further, the 1965 Report only mentions methane in two places,

and neither is directly discussing it in relation to climate change, but rather it is discussed as a

byproduct of biological processes resulting from pollution.

        135.     The assertions in this paragraph appear to characterize and quote from the 1965

Report, which speaks for itself and is the best evidence of its content.

        136.     The allegations characterize and quote from a September 17, 1969 memorandum

from Daniel P. Moynihan to John Ehrlichman, White House Counsel, which speaks for itself and

is the best evidence of its content.

        137.     The allegations characterize and quote from a provision of the National Climate

Program Act, Pub. L. No. 95-367, 92 Stat. 601 (Sept. 17, 1978), which speaks for itself and is the

best evidence of its content. Federal Defendants aver that the quoted language is codified at 15

U.S.C. § 2902.

        138.     The allegations characterize and congressional testimony by Dr. James Hansen,

Director, NASA Goddard Institute for Space Studies, which speaks for itself and is the best

evidence of its contents.

        139.     The allegation as to EPA appears to characterize a September 12, 1986, letter

from eight members of the Senate Subcommittee on Environmental Pollution to EPA

Administrator Lee Thomas, which speaks for itself and is the best evidence of its contents.

Federal defendants lack sufficient knowledge or information to form a belief about the truth of

the allegation as to Congress’ direction to its own offices.




                                                  32
        140.    Federal Defendants admit the allegations in the first sentence. The second

sentence characterizes and quotes from EPA’s 1990 report to Congress, “Policy Options for

Stabilizing Global Climate” (“1990 EPA Report”), which speaks for itself and is the best

evidence of its content.

        141.    The allegations characterize and quote from the 1990 EPA Report, which speaks

for itself and is the best evidence of it content.

        142.    The allegations characterize and quote from a 1991 report from Congress’s Office

of Technology Assessment, “Changing by Degrees: Steps to Reduce Greenhouse Gases” (“1991

OTA Report”), which speaks for itself and is the best evidence of its contents.

        143.    The allegations characterize and quote from the 1991 OTA Report, which speaks

for itself and is the best evidence of its contents.

        144.    The allegations characterize the 1990 EPA Report and the 1991 OTA Report,

which speak for themselves and are the best evidence of their contents.

        145.    Federal Defendants deny the allegation in the first sentence and aver that the

United States Senate passed a resolution, providing advice and consent for the ratification of the

United Nations Framework Convention on Climate Change (“UNFCCC”) on October 7, 1992,

which the President ratified on October 15, 1992. The assertions in the second, third, fourth, and

fifth sentences characterize and quote from the UNFCCC, which speaks for itself and is the best

evidence of its content. With respect to the second sentence, Federal Defendants aver that the

quoted language pertains to Article 3.1, a provision of the UNFCCC that is of a non-binding in

nature and provides that the parties to the UNFCCC “should protect the climate system for the

benefit of present and future generations of humankind.” (emphasis added). With respect to the

third sentence, Federal Defendants aver that the quoted language – “overwhelming weight” – is




                                                     33
not included in the UNFCCC and further that norms and principles of intergenerational equity

are not referenced in the document. With respect to the fourth and fifth sentence, Federal

Defendants aver that Plaintiffs’ characterization of the quoted language of Article 2 of the

UNFCCC as “[t]he minimal objective of the UNFCCC” is inconsistent with the text of the

UNFCCC which states that the quoted language is “[t]he ultimate objective of this Convention. .

.” (emphasis added).

       146.    Federal Defendants deny the allegations in the first sentence. Federal Defendants

aver that some of those recommendations in 1990 EPA Report were in fact subsequently

implemented. To give one example, the 1990 EPA Report indicates that there could be

“performance standards” for greenhouse gases. EPA has promulgated performance standards for

GHGs from certain new, modified, and reconstructed power plants. 80 Fed. Reg. 64510 (Oct.

23, 2015). The allegations in the second sentence are too vague for Federal Defendants to admit

or deny.

       147.    With respect to the first sentence, Federal Defendants admit that on December 7,

2009, EPA Administrator Lisa Jackson signed, “Endangerment and Cause or Contribute

Findings for Greenhouse Gases under the Section 202(a) of the Clean Air Act,” 74 Fed. Reg.

66496 (Dec. 15, 2009). The second sentence characterizes that finding, which speaks for itself

and is the best evidence of its contents. Federal Defendants deny the allegations in the third

sentence.

       148.    Federal Defendants admit that, on January 2, 2011, EPA Clean Air Act standards

for GHG emissions from certain mobile sources became operative, and certain stationary source

permitting requirements also became applicable to GHGs. See “Reconsideration of

Interpretation of Regulations that Determine Pollutants Covered by Clean Air Act Permitting




                                                34
Programs.” 75 Fed. Reg. 17004 (Apr. 2, 2010). Federal Defendants otherwise deny the

allegations.

       149.    Federal Defendants admit the allegation in the first sentence and deny the

allegations in the first clause of the second sentence. The remaining allegations in the second

sentence quote from and characterize a DOE strategic plan, which speaks for itself and is the best

evidence of its contents.

       150.    Federal Defendants admit the allegations in this paragraph.

“II.   IN SPITE OF KNOWING OF THE SEVERE DANGER POSED BY CARBON
       POLLUTION, DEFENDANTS CREATED AND ENHANCED THE DANGERS
       THROUGH FOSSIL FUEL EXTRACTION, PRODUCTION, CONSUMPTION,
       TRANSPORTATION, AND EXPORTATION”

       “A.     Despite the Known Danger, Defendants Caused Climate Instability and
               Allowed U.S. Fossil Fuel Extraction, Production, Consumption,
               Transportation, and Exportation and Associated Emissions, to Dangerously
               Increase”

       151.    Federal Defendants lack sufficient knowledge or information to form a belief as to

the truth of the allegations in the first sentence and deny them on that basis. Federal Defendants

aver that from 1850 to 2012, CO2 emissions from sources within the United States (including

from land use) comprised more than 25 percent of cumulative global CO2 emissions. Federal

Defendants lack sufficient knowledge or information to form a belief about the truth of the

allegations in the second sentence, and on this basis deny them. The allegations in the third

sentence are too vague and ambiguous for Federal Defendants to admit or deny.

       152.    Federal Defendants admit that overall production and consumption of fossil fuels

over the last fifty years has increased. Federal Defendants otherwise deny the allegations.

       153.    Federal Defendants deny the allegations in the first sentence and aver that the

recommendations in the 1990 EPA Report were policy recommendations. Further, some of

those recommendations were subsequently implemented. For example, the 1990 EPA Report


                                                35
indicates that there could be “performance standards” for greenhouse gases. EPA has

promulgated performance standards for GHGs from certain new, modified, and reconstructed

power plants. 80 Fed. Reg. 64510 (Oct. 23, 2015). Federal Defendants lack sufficient

knowledge or information to form a belief about the truth of the allegations in the second

sentence, and on this basis denies them. Federal Defendants admit the allegation in the third

sentence regarding the volume of CO2 emissions and aver that between 1991 and 2014, at least

127,600 million metric tons of CO2 was emitted from fossil fuel combustion in the United States.

The remaining allegations in the third sentence are denied.

       154.    This paragraph appears to characterize as “plans” the 1990 EPA Report and the

1991 OTA Report both of which speak for themselves and are the best evidence of their

contents. The remaining allegations contain conclusions of law to which no response is required.

       155.    Federal Defendants deny the allegation that total fossil fuel production in the

United States was 65.244 Quadrillion Btus in 2014 and aver that when natural gas plant liquids

are included, total fossil fuel production in the United States was 69.653 Quadrillion Btus in

2014. The remaining allegations in this paragraph are the Plaintiffs’ opinion and require no

answer.

       156.    Federal Defendants admit that total fossil fuel energy consumption in the United

States was close to the 80.366 Quadrillion Btus in 2014 that Plaintiffs allege and aver total fossil

fuel energy consumption in the United States was 80.240 Quadrillion Btus in 2014. The

remaining allegations in this paragraph are the Plaintiffs’ opinion and require no answer.

       157.    Federal Defendants admit the allegation that CO2 emissions from energy

consumption in the United States in 2014 was close to the 5.4 metric tons Plaintiffs allege and




                                                 36
aver that CO2 emissions from energy consumption in the United States in 2014 was 5.406. The

remaining allegations in this paragraph are the Plaintiffs’ opinion and require no answer.

         158.   Federal Defendants admit the allegations.

         159.   Federal Defendants admit the allegation in the first sentence that the emissions

figures above are from United States government sources, but deny the remaining allegations in

the sentence. With respect to the second sentence, Federal Defendants admit that the EPA

develops the United States Greenhouse Gas Emissions Inventory (“GHG Inventory”) which is

based on Intergovernmental Panel on Climate Change (“IPCC”) guidelines that provide methods

for countries to estimate GHG emissions and removals where and when they happen. With

respect to the third and fourth sentences, Federal Defendants admit that the GHG Inventory does

not include emissions embedded in imported goods consumed in the United States.

         160.   Federal Defendants admit the allegations in this paragraph and aver that the data

presented has changed slightly due to revisions to the data published after the Complaint was

filed.

         161.   Federal Defendants admit the allegations in this paragraph and aver that the data

presented has changed slightly due to revisions to the data published after the Complaint was

filed.

         162.   Federal Defendants admit the allegations in the first sentence. With respect to the

second sentence, Federal Defendants admit that the United States produces commercial volumes

of natural gas or crude oil from shale formations. Federal Defendants lack sufficient knowledge

or information to form a belief about the truth of the remaining allegations in this sentence and

on this basis deny them.

         163.   Federal Defendants deny the allegations in this paragraph.




                                                 37
        “B.      Defendants Have Allowed Excessive Fossil Fuel Production on Federal
                 Public Lands.”

        164.     Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph, and on this basis deny them.

        165.     Federal Defendants admit the allegation in this paragraph.

        166.     Federal Defendants admit the allegation in this paragraph.

        167.     Federal Defendants admit the allegation in this paragraph.

        168.     Federal Defendants admit the allegations in the first sentence and aver that the

Bureau of Land Management (“BLM”) had 46,183 oil and gas leases in effect in Fiscal Year

2014, containing a total of 94,778 producible and service well bores. Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the remaining allegations

in the first sentence, and on this basis deny them. Federal Defendants admit the allegation in the

second sentence. Federal Defendants deny the allegation in the third sentence and aver that as of

October 1, 2015 there were 32,193,369 acres of federal land under lease in 32 states.

        169.     Federal Defendants deny the allegation that BLM processed more application for

permits to drill from 2009-2011 than it did from 2006-2008. Federal Defendants admit that

BLM received fewer new applications for permits to drill from 2009-2011 than it did from 2006-

2008.

        170.     Federal Defendants admit the allegations in the first sentence. Federal Defendants

and deny the allegations in the second sentence and aver that between 2003 and 2015, BLM has

consistently approved between 77 and 91 percent of the applications for permits to drill that it

has processed.

        “C.      Defendants Subsidize the Fossil Fuel Industry”

        171.     Federal Defendants deny the allegations in this paragraph.



                                                  38
       172.    Federal Defendants deny the allegations first sentence. Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the allegations in the

second and third sentence, and on this basis deny them.

       173.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph, and on this basis deny them.

       174.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph, and on this basis deny them.

       175.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph, and on this basis deny them.

       176.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph, and on this basis deny them.

       177.    Federal Defendants admit the allegations in this paragraph.

       178.    The allegations in the first sentence are too vague for Federal Defendants to admit

or deny. The second sentence characterizes publicly available details of the social cost of

carbon, developed by an interagency working group convened by the Council of Economic

Advisors and OMB, which speaks for itself and is the best evidence of its contents.

       “D.     Defendants Recklessly Allow Interstate and International Transport of Fossil
               Fuels”

       179.    Federal Defendants deny the allegations in this paragraph.

       180.    The allegations in the first sentence characterizes and quotes from Executive

Order 11423, which speaks for itself and is the best evidence of its contents. Federal Defendants

deny the allegations in the second sentence.

       181.    With respect to the first sentence, Federal Defendants admit that, prior to

December 18, 2015, a license was required to export crude oil from the United States to all



                                                 39
destinations, with licenses to Canada generally being approved and licenses to other countries

generally being rejected. Federal Defendants aver that as of December 18, 2015, pursuant to

section 101 of Division O of the Consolidated Appropriations Act, 2016, United States

Government officials are prohibited from implementing or enforcing export controls on crude oil

and that BIS subsequently removed 15 C.F.R. § 754.2 in conformance with that prohibition.

Federal Defendants further aver that a license continues to be required for export of crude oil to

sanctioned or embargoed countries or to certain prohibited end users. Federal Defendants aver

the allegation in the second sentence that the number of barrels of crude oil exported in 2014

pursuant to a BIS license was an increase from the number of barrels exported in 2013, deny that

BIS authorized the exportation of 126,155 thousand barrels of crude oil in 2014 and aver that the

correct figure is 127,864 thousand barrels. With respect to crude oil imports, Federal Defendants

deny that DOE has oversight authority, deny the amount of imports in 2014 and aver that

according to EIA – an independent statistical agency formally organized under DOE – the

volume of crude oil imported in 2014 was 2,680,626 thousand barrels.

       182.    Federal Defendants deny the allegation, in the first sentence, that FERC

authorizes natural gas imports and exports and aver that jurisdiction over import and export

authorization lies with DOE. Federal Defendants deny the allegations in the second sentence and

aver that under the Natural Gas Act section 3 and Parts 153 and 380 of FERC’s regulations,

FERC approves the construction of interstate natural gas pipelines, storage facilities, and LNG

terminals. However, FERC has issued a final order denying authorization for the siting,

construction and operation of the Jordan Cove LNG terminal. Federal Defendants admit the

allegations in the third and fourth sentences.




                                                 40
        183.   Federal Defendants admit the allegations in the first, third, and fourth sentences.

Federal Defendants deny the allegations in the second sentence.

        184.    Federal Defendants admit the allegations in this paragraph.

        “E.    Defendants Recklessly Allow CO2 Pollution From Combustion of Fossil
               Fuels”

        185.   Federal Defendants deny the allegations in the first sentence and admit the

allegations in the second sentence.

        186.   Federal Defendants admit the allegations in the first sentence that in 2012

petroleum accounted for 36.5 percent of total energy consumption in the United States and was

the single largest source of energy consumption. With respect to the second sentence, Federal

Defendants aver that EPA has issued regulations that apply to petroleum refineries but deny that

all United States petroleum refineries are permitted and regulated by EPA. Federal Defendants

aver that under the Clean Air Act, EPA has issued standards for refineries that apply based on

certain characteristics and refineries may be subject to permitting requirements under EPA

permitting programs, but the permits under those programs are usually issued by state or local

governments.

        187.   Federal Defendants admit the allegation in the first sentence that in 2013 CO2

emissions from the industrial sector were approximately 15 percent of total CO2 emissions in

the United States. With respect to the second sentence, Federal Defendants admit that EPA

regulates various aspects of industrial sources but deny the remaining allegations as too vague

to verify.

        188.   With respect to the first sentence, Federal Defendants deny the allegations and

aver that under the Energy Policy and Conservation Act of 1975 “covered products and

equipment” are subject to energy conservation standards set either by statute or by DOE



                                                41
regulations, 42 U.S.C. §§ 6291–6317, and that under the Energy Conservation and Production

Act (“ECPA”) DOE is required to establish building energy efficiency standards for all new

Federal buildings. 42 U.S.C. § 6834(a)(1). Federal Defendants aver that ECPA requires States

to certify that they have reviewed their residential building code regarding energy efficiency and

made a determination as to whether it is appropriate for such State to revise such residential

building code provisions to meet or exceed the revised model code that the Secretary of Energy

has determined would improve the level of efficiency in buildings. 42 U.S.C. § 6833(a). ECPA

also requires States to certify that they have reviewed and updated the provisions of their

commercial building codes regarding energy efficiency provisions to meet or exceed the revised

model code that the Secretary of Energy has determined would improve the level of efficiency in

buildings. 42 U.S.C. § 6833(b). Federal Defendants lack sufficient knowledge or information to

form a belief about the truth of the allegations in the second sentence, and on this basis deny

them.

        189.   Federal Defendants admit the allegation in the first sentence that Congress

enacted the CAFE standards program in 1975, and that the National Highway Traffic Safety

Administration within the DOT establishes fuel economy standards. The remainder of the first

sentence is Plaintiffs’ characterization of CAFE program requirements of the Energy Policy and

Conservation Act, 49 U.S.C. § 32904, et seq., which speak for themselves and are the best

evidence of their contents. With respect to the second sentence, Federal Defendants admit that

DOT has established fuel economy standards and fuel efficiency standards, and that EPA has

established standards for emissions of greenhouse gases (including CO2) from certain new motor

vehicles and engines; and admit that both fuel economy standards and fuel efficiency standards




                                                42
can reduce CO2 emissions. The remainder of the second sentence is a conclusion of law to

which no response is required.

        190.   Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in the first sentence, and on this basis deny them. Federal

Defendants admit that SUVs are less fuel-efficient and emit greater quantities of CO2 per mile

than lighter-weight vehicles, if other factors are held equal.

        191.   Federal Defendants deny the allegations in the first sentence and aver that in

2012, United States CO2 equivalent emissions from transportation were approximately 1,780

million metric tons. Federal Defendants admit the allegations in the second sentence.

“III.   THE JORDAN COVE LNG EXPORTS”

        192.   The allegations characterize Section 201 of the Energy Policy Act, 15 U.S.C. §

717b(c), which speaks for itself and is the best evidence of its contents.

        193.   Federal Defendants admit the allegation in the first sentence and aver that DOE

approval of export of LNG from the proposed Jordan Cove LNG Terminal in Coos Bay to FTA

nations was required under Section 3(c) of the Natural Gas Act and therefore did not include any

environmental review or other public interest analysis by DOE. Section 3(c) states, in relevant

part: “[T]he exportation of natural gas to a nation with which there is in effect a free trade

agreement requiring national treatment for trade in natural gas, shall be deemed to be consistent

with the public interest, and applications for such … exportation shall be granted without

modification or delay.” 15 U.S.C. § 717b(c). In issuing DOE/FE Order No. 3041 to Jordan

Cove on December 7, 2011, DOE complied with this statutory mandate: “The instant

Application falls within section 3(c), as amended, and therefore, DOE/FE is charged with

granting the Application without modification or delay.” (DOE/FE Order No. 3041 at 11).




                                                 43
Federal Defendants admit the allegation in the second sentence but aver that on March 11, 2016,

FERC issued an order denying Jordan Cove’s application to site, construct, and operate the

Jordan Cove LNG Export Terminal and associated facilities, and on December 9, 2016, denied

Jordan Cove’s request for rehearing of that denial. 157 FERC ¶ 61,194, P 33 (Dec. 9, 2016).

Thus, at this time, Jordan Cove lacks authority from FERC to construct and operate the proposed

export terminal—meaning it cannot export LNG pursuant to DOE/FE Order No. 3041. Federal

Defendants lack sufficient knowledge or information to form a belief about the truth of the

allegations in the third sentence, and on this basis deny them.

       194.    Federal Defendants deny the allegations in this paragraph and aver that on March

11, 2016, FERC issued an order denying Jordan Cove’s application to site, construct, and operate

the Jordan Cove LNG Export Terminal and associated facilities, and on December 9, 2016,

denied Jordan Cove’s request for rehearing of that denial. 157 FERC ¶ 61,194, P 33 (Dec. 9,

2016). Thus, at this time, Jordan Cove lacks authority from FERC to construct and operate the

proposed export terminal—meaning it cannot export LNG pursuant to DOE/FE Order No. 3041.

       195.    Federal Defendants deny the allegations in this paragraph and aver that on March

11, 2016, FERC issued an order denying Jordan Cove’s application to site, construct, and operate

the Jordan Cove LNG Export Terminal and associated facilities, and on December 9, 2016,

denied Jordan Cove’s request for rehearing of that denial. 157 FERC ¶ 61,194, P 33 (Dec. 9,

2016). Thus, at this time, Jordan Cove lacks authority from FERC to construct and operate the

proposed export terminal—meaning it cannot export LNG pursuant to DOE/FE Order No. 3041.

       196.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this sentence, and on this basis deny them. Federal




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Defendants also aver that the allegations have been overcome by events that prevent operation of

the facility proposed by Jordan Cove.

        197.       The allegations in this paragraph characterize and quote from a letter from

Governor John Hickenlooper to DOE and FERC which speaks for itself and is the best evidence

of its contents.

        198.       Federal Defendants deny the allegations in this paragraph and aver that on March

11, 2016, FERC issued an order denying Jordan Cove’s application to site, construct, and operate

the Jordan Cove LNG Export Terminal and associated facilities, and on December 9, 2016,

denied Jordan Cove’s request for rehearing of that denial. 157 FERC ¶ 61,194, P 33 (Dec. 9,

2016). Thus, at this time, Jordan Cove lacks authority from FERC to construct and operate the

proposed export terminal—meaning it cannot export LNG pursuant to DOE/FE Order No. 3041.

        199.       Federal Defendants admit the allegation in this paragraph to the extent it describes

standard operating circumstances.

        200.       Federal Defendants deny the allegations in this paragraph and aver that on March

11, 2016, FERC issued an order denying Jordan Cove’s application to site, construct, and operate

the Jordan Cove LNG Export Terminal and associated facilities, and on December 9, 2016,

denied Jordan Cove’s request for rehearing of that denial. 157 FERC ¶ 61,194, P 33 (Dec. 9,

2016). Thus, at this time, Jordan Cove lacks authority from FERC to construct and operate the

proposed export terminal—meaning it cannot export LNG pursuant to DOE/FE Order No. 3041.

The allegations are also comprised of conclusions of law to which no response is required.

        201.       Federal Defendants deny the allegations in this paragraph and aver that on March

11, 2016, FERC issued an order denying Jordan Cove’s application to site, construct, and operate

the proposed Jordan Cove LNG Terminal (and the related application for the proposed Pacific




                                                    45
Connector Natural Gas Pipeline). On December 9, 2016, FERC denied Jordan Cove’s request

for rehearing of that denial. 157 FERC ¶ 61,194, P 33 (Dec. 9, 2016). Thus, at this time, Jordan

Cove lacks authority from FERC to construct and operate the proposed export terminal—

meaning it cannot export LNG pursuant to DOE/FE Order No. 3041. The allegations are also

comprised of conclusions of law to which no response is required.

       202.    Federal Defendants admit the allegations in the first and second sentence that

there is a scientific consensus that the buildup of GHGs (including CO2) due to human activities

(including the combustion of fossil fuels) is changing the global climate at a pace and in a way

that threatens human health and the natural environment. With respect to the third sentence,

Federal Defendants admit that GHG emissions (including CO2) from fossil fuel combustion have

contributed to increasing atmospheric GHG concentrations and therefore, the global energy

imbalance in the climate system. Federal Defendants lack sufficient knowledge or information

to form a belief about the truth of the remaining allegations in the third sentence.

       203.    Federal Defendants deny the allegations in the first sentence and aver that

atmospheric CO2 concentrations over 280 ppm have led to an energy imbalance compared to the

pre-industrial era. Federal Defendants deny the allegation in the second sentence that the energy

imbalance is now approximately 0.6 Watts/m2. Federal Defendants aver that the best estimate of

radiative forcing change since 1750 is 2.29 Watts/m2 averaged over the entire planet and that the

current energy imbalance is on the order of 0.5 to 1.0 Watts/m2. Federal Defendants lack

sufficient knowledge or information sufficient to form a belief about the truth of the remaining

allegations in this sentence, and on this basis deny them.

       204.    The allegations characterize and quote from the 2014 National Climate

Assessment, which speaks for itself and is the best evidence of its content.




                                                 46
       205.    Federal Defendants admit the allegations in the first sentence. With respect to the

second sentence, Federal Defendants admit that GHGs in the atmosphere slow the release of heat

into space, keeping the Earth warmer than it would be otherwise, and that increasing GHG

concentrations in the atmosphere will therefore lead to further warming. The remaining

allegations in the second sentence are too vague for Federal Defendants to admit or deny.

       206.    Federal Defendants admit the allegations in the first sentence and aver that for a

given amount of CO2 emissions reaching the atmosphere, atmospheric concentrations will

remain elevated by 15 to 40 percent of that given amount for a millennium or more. Federal

Defendants admit the allegations in the second and third sentences that CO2 emissions are

currently altering the atmosphere’s composition and will continue to alter Earth’s climate for

thousands of years. Federal Defendants deny the remaining allegations as stated.

       207.    The allegations in this paragraph, and in particular Plaintiffs’ use of the term

“danger zone,” are too vague for Federal Defendants to admit or deny. Federal Defendants aver

that current and projected concentrations of six well-mixed greenhouse gases in the atmosphere,

including CO2, threaten the public health and welfare of current and future generations.

       208.    Federal Defendants admit the allegation in the first sentence, that in 2013, daily

average atmospheric CO2 concentrations (measured at the Mauna Loa Observatory) exceeded

400 ppm for the first time in millions of years. With respect to the second sentence, Federal

Defendants admit that average atmospheric CO2 concentrations were approximately 280 ppm in

the late 1700s. The remaining allegations in this sentence are too vague to admit or deny. With

respect to the third sentence, Federal Defendants admit that stabilizing atmospheric CO2

concentrations will require deep reductions in CO2 emissions. Federal Defendants lack sufficient

knowledge or information to determine the truth of the remaining allegations in this sentence.




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       209.    Federal Defendants admit the allegation in the first sentence that monthly global

average CO2 concentrations exceeded 400 ppm for the first time in March, 2015, reaching levels

unprecedented for at least 2.6 million years and deny the remainder as stated. With respect to the

second sentence, Federal Defendants admit that atmospheric CO2 concentrations have risen

approximately 120 ppm since the late 1700s, and about half of that increase occurred after 1980.

       210.    With respect to the allegations in the first and third sentences, Federal Defendants

admit that the Earth has now warmed about 0.9°C above pre-industrial temperatures. Federal

Defendants lack sufficient knowledge or information to determine the truth of the allegations in

the second sentence and on this basis deny them.

       211.    With respect to the first and second sentences, Federal Defendants admit that the

more rapid the rate of climate change, the more challenging it is for humans and natural systems

to adapt to it. The remaining allegations in the first sentence are too vague for Federal

Defendants to admit or deny. Defendants lacks sufficient knowledge or information to determine

the truth of the allegations in the second and third sentences and on this basis deny them.

       212.    The allegations are too vague for Federal Defendants to admit or deny. To the

extent a response is required, Federal Defendants lack sufficient information to determine the

truth of the allegations in this paragraph and on this basis deny them.

“V.    EXISTING IMPACTS OF CLIMATE CHANGE ACROSS THE NATION”

       213.    With respect to the first sentence, Federal Defendants admit that climate change is

damaging human and natural systems, increasing the risk of loss of life, and requiring adaptation

on larger and faster scales than current species have successfully achieved in the past, potentially

increasing the risk of extinction or severe disruption for many species. The allegations in the

second sentence are too vague and speculative for Federal Defendants to admit or deny. Federal




                                                48
Defendants aver that current and projected atmospheric concentrations of six well-mixed GHGs,

including CO2, threaten the public health and welfare of current and future generations, and this

threat will mount over time as GHGs continue to accumulate in the atmosphere and result in ever

greater rates of climate change.

        214.   The allegations in the paragraph are too vague and speculative for Federal

Defendants to admit or deny. Further, the assertions characterize and reference “[r]ecent

scientific reports,” which speak for themselves and are the best evidence of their contents. To

the extent a response is required, Federal Defendants acknowledge that scientific assessments of

the IPCC and the National Academies have projected sea level rise by the end of the next century

of 0.26 meters to 2 meters (depending on the assessment, the emissions scenario, and the

response of the Greenland and Antarctic ice sheets), and that sea level rise will lead to increases

in flooding and other damages in coastal and island communities. Federal Defendants deny the

remaining allegations in this paragraph as stated.

        215.   The allegations in this paragraph 215 are too vague for Federal Defendants to

admit or deny. To the extent a response is required, Federal Defendants aver that scientific

assessments of the IPCC and the National Academies have projected sea level rise by the end of

the next century of 0.26 meters to 2 meters (depending on the assessment, the emissions

scenario, and the response of the Greenland and Antarctic ice sheets), and that the sea level will

continue to rise for several centuries even after atmospheric greenhouse gas concentrations are

stabilized.

        216.   The allegations in the first sentence, and in particular Plaintiffs’ use of the term

“danger zone,” are too vague to admit or deny. With respect to the second sentence, Federal

Defendants admit that current and projected atmospheric concentrations of six well-mixed




                                                 49
GHGs, including CO2, threaten the public health and welfare of current and future generations,

including through warming of land surfaces and oceans, and changes in the hydrologic cycle

(including changes to atmospheric moisture levels and rainfall patterns) and circulation of the

atmosphere. Federal Defendants otherwise deny the allegations in this paragraph as stated.

       217.    With respect to the first sentence, Federal Defendants admit that since 1901 the

average surface temperature across the contiguous 48 states has risen at an average rate of 0.14°F

per decade, and global average surface temperature has risen at an average rate of 0.15°F per

decade. With respect to the second sentence, Federal Defendants admit that human activity (in

particular, elevated concentrations of GHGs) is likely to have been the dominant cause of

observed warming since the mid-1900s. Plaintiffs’ characterize the 1965 White House Report,

which speaks for itself and is the best evidence of its contents. With respect to the third and

fifth sentences, Federal Defendants admit that global surface temperatures on earth in 2014 were

warmer than all the preceding years and 2015 was warmer still, with global surface temperatures

having exceeded temperatures of the mid-to-late 19th century by more than 1°C. With respect to

the fourth sentence, Federal Defendants admit that the average rate of warming over the past 30

years has been higher than over the past 100 years.

       218.    Federal Defendants deny that sea levels have been rising at an average rate of 3.2

millimeters per year, admit the remaining allegations in the first and second sentence, and aver

that sea levels have been rising at a rate of about 3.4 millimeters per year since 1993. Federal

Defendants admit the allegation in the third sentence that this rate is faster than the rate over the

past century. Federal Defendants admit the allegation in the fourth sentence that rising relative

sea levels (which are a function of global sea level and local factors such as land subsidence or

uplift) have caused increased flooding in many communities. Federal Defendants lack sufficient




                                                  50
knowledge or information to form a belief about the truth of the remaining allegations in the

fourth and fifth sentences, and on this basis denies them.

       219.    Federal Defendants admit the allegation in the first sentence that rising sea levels

along coastal states lead to the inundation of low-lying lands and beaches, loss of wetlands, and

increased salinity of near-coastal estuaries and aquifers and the allegation in the second sentence

that approximately 20 square miles of land along the Atlantic Coast were converted to open

water between 1966 and 2011. Federal Defendants admit the allegation in the third sentence.

Federal Defendants lack sufficient knowledge or information to form a belief about the truth of

the allegations in the fourth sentence. The remaining allegations in the paragraph are too vague

for Federal Defendants to admit or deny.

       220.    Federal Defendants admit that climate change is associated with increases in

hurricane intensity, increased frequency of intense storms and heavy precipitation, and that the

number of very heavy precipitation events has been significantly above average since 1991.

Federal Defendants admit that across the United States, nine of the top ten years for extreme one-

day precipitation events have occurred since 1990. Defendants deny the remaining allegations in

the paragraph as stated.

       221.    Federal Defendants admit that there have been and will continue to be changes in

the nation’s water cycle as a result of climate change, including more winter and spring

precipitation in the northern United States and less precipitation in the Southwest (and more

intense droughts projected for the Southwest). Federal Defendants admit that because of

increasing temperatures, as well as changes in variability in some regions, drought is expected to

increase across most of the central and southern United States—even in regions with increasing

precipitation. Federal Defendants admit that prolonged heat events in recent years have been the




                                                51
most extreme on record and that climate change has contributed to these events, but aver that

some regions had more intense short-duration heat waves in the 1930s. Federal Defendants deny

the remaining allegations in this paragraph as stated.

       222.    Federal Defendants admit that the average extent of North American snow cover

decreased at a rate of about 3,300 square miles per year between 1972 and 2015, with the largest

decreases occurring in spring and summer and aver that the United States snow cover season has

become shorter by nearly two weeks. Federal Defendants admit that reduced snowpack impacts

fresh water management and supply. The remaining allegations in the paragraph are too vague

for Federal Defendants to admit or deny. To the extent a response is required, Federal

Defendants deny the remaining allegations as stated.

       223.    Federal Defendants admit the allegation that Arctic sea ice is declining. The

remainder of the first sentence is too vague to admit or deny. Federal Defendants deny the

allegation in the second sentence that Arctic sea ice in September 2013 was 700,000 square miles

below the 1981-2010 average for the same period and aver that the Arctic sea ice extent in

September 2013 was 452,000 square miles below the September average for 1981–2010. With

respect to the third sentence, Federal Defendants admit that the Artic sea ice extent in September

2014 was 479,000 square miles below the September average for 1981–2010. The allegations in

the fourth and fifth sentences are too vague to admit or deny.

       224.    With respect to the first, second, and third sentence, Federal Defendants admit

that there has been an increase in permafrost thaw in Alaska, that as organic matter frozen in the

permafrost thaws (including from peat bogs) it will decay, creating emissions of methane and

CO2 that can lead to more warming, and that methane releases from Arctic permafrost have been

observed. With respect to the fourth sentence, Federal Defendants deny the allegations and aver




                                                52
that CO2 and methane released from permafrost under a high-emissions scenario has been

projected to lead to additional warming of 0.07°F to 1.2°F by 2100. Federal Defendants deny the

remaining allegations in the paragraph as stated.

       225.    With respect to the first sentence, Federal Defendants admit that glaciers have

been receding on average within the United States. With respect to the second sentence, Federal

Defendants admit that in 1850 there were an estimated 150 glaciers in Glacier National Park,

Montana, and that there are currently only twenty-five glaciers larger than twenty-five acres in

Glacier National Park. With respect to the third sentence, Federal Defendants admit that every

glacier in the Brooks Range of northern Alaska studied by the United States Geological Survey

(“USGS”) in a 2010 report was in retreat. Federal Defendants lack sufficient knowledge or

information to form a belief about the truth of the remaining allegations in this paragraph, and on

this basis deny them.

       226.    With respect to the first sentence, Federal Defendants admit that melting of

mountain glaciers due to climate change can impact the timing of water flow downstream, which

can have adverse impacts on water systems and flooding, including for areas that rely on snow

melt for irrigation and water supply. The remainder of the first sentence is too vague to admit or

deny. Federal Defendants admit the allegations in the second sentence. With respect to the third

and fourth sentences, Federal Defendants admit that as temperatures warm, areas reliant on snow

melt for irrigation and drinking water supplies will be impacted, and in the western United States

increasing snow melt will increase flooding in some mountain watersheds. Defendants deny the

remaining allegations in the paragraph as stated.

       227.    Federal Defendants admit the allegations in the first sentence. With respect to the

second sentence, Federal Defendants admit that climate change may increase the prevalence of




                                                53
parasites and diseases that affect livestock, increase the range and distribution of weeds and

pests, cause changes in precipitation patterns and extreme weather events, and reductions in

water availability may all result in reduced agricultural productivity. Federal Defendants admit

that anthropogenic climate change in the United States has produced warmer summers, but lack

sufficient knowledge or information to form a belief about the truth of the remaining allegations

in this sentence. Federal Defendants admit the allegations in the fourth sentence to the extent

that, under warming conditions, in Alaska there are spruce beetles that mature in one year rather

than two years. Federal Defendants admit the allegations in the fifth sentence that various

beetles have killed millions of hectares of trees across the United States but denies the remaining

allegations. Federal Defendants lack sufficient knowledge or information to form a belief about

the truth of the remaining allegations in this sentence.

       228.    Federal Defendants admit the allegation in the first sentence that climate change

effects on agriculture will have consequences for food scarcity. The remainder of the first

sentence of is too vague for Federal Defendants to admit or deny. Federal Defendants lack

sufficient knowledge or information to determine the truth of the allegations in the second

sentence and so on that basis deny them. With respect to the third sentence, Federal Defendants

admit that climate change is predicted to decrease crop yield, increase crop prices, and decrease

the concentrations of protein and essential minerals in crops such as wheat and rice, which

lowers these crops’ nutritional value. Federal Defendants lack sufficient knowledge or

information to determine the truth of the allegations in the third sentence and so on that basis

deny them.




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       229.    The allegations in the first sentence that increased wildfires threaten forest

property is admitted. The remaining allegations in the first sentence are too vague for Federal

Defendants to admit or deny. The allegations in the second and third sentences are admitted.

       230.    Federal Defendants deny the allegation in the first sentence and aver that an

increase in surface ocean acidity (and a decrease in aragonite saturation levels), has adverse

impacts on ocean organisms that use carbonate in their shells and skeletons, placing a number of

such organisms at risk and impacting larger ecosystems as well. Federal Defendants admit the

allegations in the second sentence and aver that the oceans have absorbed about 28 percent of the

CO2 produced by human activities over the past 250 years, leading to an increase in surface

ocean acidity of about 30 percent. Defendants otherwise deny the remaining allegations in

Paragraph 230.

       231.    Federal Defendants deny the allegations in the second sentence and aver that

ocean acidity is increasing at a rate 50 times faster than observed in at least the past 100,000

years. With respect to the third sentence, Federal Defendants admit that increased acidity makes

it more difficult for certain organisms to build and maintain their skeletons and shells (including

corals, oysters, clams, scallops, mussels, abalone, crabs, geoducks, barnacles, sea urchins, sand

dollars, sea stars, sea cucumbers, some single-celled organisms and protists), putting a number of

such organisms and certain forms of seaweed at risk, and thereby impacting larger ecosystems.

The allegations in the first and fourth sentences are too vague and speculative for Federal

Defendants to admit or deny; to the extent a response is required, Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the allegations, and on

this basis deny them.




                                                 55
       232.    Federal Defendants admit that under some high-emission scenarios the allegation

in the first sentence, that surface ocean waters could be nearly 150 percent more acidic and admit

that the oceans have probably not experienced this rate of change in pH for 100 million years.

Defendants deny the remainder of the first sentence as stated. Federal Defendants lack sufficient

knowledge or information to form a belief about the truth of the allegations in the second

sentence, and on this basis denies them. Federal Defendants admit the allegations in the third

sentence.

       233.    Federal Defendants admit that coral reefs are threatened by increasing acidity.

The remainder of the first sentence is too vague for Federal Defendants to admit or deny.

Federal Defendants deny the allegations in the second sentence. Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the allegations in the third

sentence, and on this basis deny them.

       234.    Federal Defendants admit the allegations in the first sentence and aver that

under a business-as-usual scenario major United States coral reefs will experience extensive

bleaching and dramatic loss of shallow coral cover by 2050, and near complete loss by 2100.

With respect to the second sentence Federal Defendants admit that, under a business-as-usual

scenario coral cover in Hawaii is projected to decline from 38 percent (current coral cover) to

approximately 5 percent by 2050, with further declines thereafter. With respect to the third

sentence Federal Defendants admit that, under a business-as-usual scenario, in Florida and

Puerto Rico—where present-day temperatures are already close to bleaching thresholds and

where reefs have historically been affected by non-climate stressors—coral is projected to

disappear even faster than in Hawaii. With respect to the fourth sentence, Federal Defendants

lack knowledge or information sufficient to form a belief about the truth of the allegations and



                                                 56
on this basis deny them.

       235.    With respect to the first sentence, Federal Defendants admit that climate change

and ocean acidification threatens the survival of plants, fish, and wildlife, and also threatens

biodiversity. With respect to the second and third sentences, Federal Defendants admit that

there is an increase in the risk of species extinctions due to the rate of climate change and ocean

acidification, that many species will face changes in abundance, distribution, and species

interactions, and that some of these changes will have adverse impacts for ecosystems and

humans. Federal Defendants otherwise deny the allegations.

       236.    The allegations in the first sentence are too vague for Federal Defendants to

admit or deny; to the extent a response is required, Federal Defendants lack sufficient

knowledge or information to form a belief about the truth of the allegations, and on this basis

deny them. With respect to the second, third, and fifth sentences, Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the allegations and on

this basis deny them. The fourth sentence characterizes NOAA Fisheries Endangered and

Threatened Marine Species list which speaks for itself and is the best evidence of its contents.

       237.    With respect to the first sentence, Federal Defendants admit that climate change

is likely to be associated with an increase in allergies, asthma, cancer, cardiovascular disease,

stroke, heat-related morbidity and mortality, food-borne diseases, injuries, toxic exposures,

mental health and stress disorders, and neurological diseases and disorders. With respect to the

allegations in the second sentence, Federal Defendants admit that climate change impacts

endanger human health by affecting the air humans breathe, food and water sources, and

human interactions with built and natural environments. With respect to the allegations in third

sentence, Federal Defendants admit that climate change increases the prevalence and



                                                 57
geographic distribution of occurrences of some infectious diseases. Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the remaining

allegations in this paragraph and on this basis denies them.

       238.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph and aver that at least 9,000 Americans have

died from heat-related illnesses since 1979. Federal Defendants admit the allegations in the

second and third sentences. With respect to the fourth sentence, Federal Defendants admit that

longer growing seasons resulting from increased temperatures have allowed ragweed to

produce pollen for a longer period, exacerbating the effects of ragweed allergies. Federal

Defendants lack sufficient knowledge or information to form a belief about the truth of the

remaining allegations in this paragraph and on this basis denies them.

       239.    The allegations in the first sentence are too vague for Federal Defendants to

admit or deny; to the extent a response is required, Federal Defendants lack sufficient

knowledge or information to form a belief about the truth of the allegations, and on this basis

deny them. The remaining allegations, characterize and quote from a Quadrennial Defense

Review, which speaks for itself and is the best evidence of its contents.

       240.    The allegations in this paragraph relating to drought, famine, and climate-related

migrations appear to characterize a Quadrennial Defense Review, which speaks for itself and is

the best evidence of its contents. As to the remaining allegations, Federal Defendants lack

sufficient knowledge or information to form a belief about the truth of the allegations in this

paragraph and on this basis deny them.

       241.    Federal Defendants admit the allegation that significant climate impacts have

already occurred in the United States. See 80 Fed. Reg. 64686-88. The remaining allegations



                                                58
in the first sentence are too vague for Federal Defendants to admit or deny. The allegations in

the second sentence are too vague for Federal Defendants to admit or deny. With respect to the

third and fourth sentences, Federal Defendants admit that positive feedbacks and potential

tipping points for some biological or physical systems exist, and that some changes may be

irreversible. Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations concerning impacts on Plaintiffs; the remaining allegations in

this paragraph are too vague for Defendants to admit or deny.

“VI.   FUTURE NATIONAL CLIMATE IMPACTS EXPECTED BY 2050 AND 2100”

       242.    Federal Defendants admit the allegations in this paragraph.

       243.    With respect to the allegations in the first, second, and third sentences, Federal

Defendants admit that relative sea-level rise may be higher than the global average in areas

with land subsidence or changes in ocean currents such as the land around the Gulf of Mexico

and the East Coast, lack sufficient knowledge or information to determine the truth of the

remaining allegations and aver that scientific assessments of the IPCC and the National

Academies have projected global mean sea-level rise by the end of the next century of 0.26

meters to 2 meters (approximately 10 to 79 inches) depending on the assessment, the emissions

scenario, and the response of the Greenland and Antarctic ice sheets. Federal Defendants admit

the allegations in the fourth and fifth sentences. Federal Defendants lacks sufficient knowledge

or information to determine the truth of the allegations in the sixth sentence. Federal

Defendants deny the remaining allegations in the paragraph.

       244.    The allegations in this paragraph are too vague for Federal Defendants to admit

or deny. To the extent a response is required, Federal Defendants admit that non-linear

changes in the Greenland and Antarctic ice sheets could contribute to additional sea level rise.



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       245.       With respect to the first sentence, Federal Defendants admit that global

temperatures are projected to increase by 2.5 to more than 11° Fahrenheit by 2100, depending

on future emissions and the responsiveness of the climate system, and that more warming is

expected on land and at higher latitudes; Federal Defendants deny the remainder of the first

sentence as stated. With respect to the second sentence, Federal Defendants lack sufficient

knowledge or information to determine the truth of the allegations and deny them on that basis.

       246.       The allegations in the first, second, third, fourth, and fifth sentences appear to

characterize an EPA-funded study, “Ensemble Projections of Wildfire Activity and

Carbonaceous Aerosol Concentrations over the Western United States in the Mid-21st

Century,” which speaks for itself and is the best evidence of its contents. With respect to the

allegations in the sixth sentence Federal Defendants deny the allegations and aver that polar

bears are listed as “threatened” under the Endangered Species Act. With respect to the

allegations in the seventh sentence, Federal Defendants admit that polar bears are sensitive to

climate change because of sea ice retreat, and that polar bear populations are projected to

decline in the Beaufort Sea region. The allegations in the eighth and ninth sentences are too

vague for Federal Defendants to admit or deny. With respect to the ninth sentence, Federal

Defendants admit that with global average temperature changes above 2°C, many terrestrial,

freshwater, and marine species (particularly endemic species) are at a far greater risk of

extinction than in the geological past. Federal Defendants otherwise deny the allegations in

this paragraph.

       247.       With respect to the first sentence, Federal Defendants admit that global

temperatures are projected to increase by 2.5° to more than 11° Fahrenheit by 2100, depending

on future emissions and the responsiveness of the climate system. Federal Defendants deny the



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remainder of the first sentence as stated. Federal Defendants admit the allegations in the

second sentence. With respect to the third sentence, Federal Defendants admit that projections

under a higher-emissions scenario suggest that the number of heat-wave days in Los Angeles is

projected to double, and the number of heat-wave days in Chicago to quadruple, resulting in

more deaths. The remainder of the third sentence is too vague to admit or deny; to the extent a

response is required, Defendants lack sufficient knowledge or information to determine the

truth of the remaining allegations.

       248.    Defendants admit that potential climate change impacts on water resources vary

between regions; admit that there have been and will continue to be changes in the nation’s

water cycle as a result of climate change, including more winter and spring precipitation in the

northern United States (except for the Northwest in the spring) and less precipitation in the

Southwest (particularly in the spring); and admit that, because of increasing temperatures and

changes in variability in some regions, drought is expected to increase across most of the

central and southern United States, even in regions with increasing precipitation. The

remaining allegations in this paragraph are too vague for Federal Defendants to admit or deny;

to the extent a response is required, Federal Defendants lack sufficient knowledge or

information to determine the truth of the remaining allegations.

       249.    With respect to the first sentence, Federal Defendants admit that much of the

Northwest's water is stored naturally in winter snowpack in the mountains and that climate

change threatens this natural storage by changing the timing of snowmelt and the amount of

water available in streams and rivers (streamflow) throughout the year, reducing water supplies

for competing demands. Federal Defendants admit the allegations in the second sentence. With

respect to the third sentence, Federal Defendants admit that in the Northwest, summer



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temperature increases (and in certain basins, increased river flooding and winter flows, and

decreased summer flows), will threaten many freshwater species, particularly salmon,

steelhead, and trout; and further admit that rising temperatures will increase disease and

mortality in several iconic salmon species. Federal Defendants lack sufficient knowledge or

information to determine the truth of the remaining allegations in the third sentence.

       250.    Federal Defendants admit that a single study determined that faster

decomposition of salmon corpses in warmer climates would lead to 11 – 14 percent less carcass

biomass available to bald eagles near Puget Sound, not taking into account changes in stream

flow. Defendants otherwise deny the allegations in this paragraph as stated.

       251.    The allegations characterize a Department of Homeland Security mass

migration plan, which speaks for itself and is the best evidence of its contents.

       252.    Federal Defendants admit the allegation in the first sentence that some climate

change projections estimate an increase in monetary damages associated with inland flooding

across most of the contiguous United States. With respect to the second sentence, Federal

Defendants admit that an EPA study projects that without reductions in GHGs, an estimated

190,000 inland bridges would be structurally vulnerable because of climate change by the end

of the century, with an adaptation cost of about $170 billion between 2010 and 2050. With

respect to the third sentence, Federal Defendants admit that the same EPA study projects that in

the Northwest, a region including Washington and parts of Oregon and Idaho, 56 percent of

inland bridges are identified as vulnerable in the second half of the 21st Century. Defendants

otherwise deny the allegations in this paragraph as stated.

       253.    Federal Defendants admit that an EPA study projects that, without reductions in

greenhouse gas emissions, adaptation costs in 2100 associated with updating urban drainage to



                                                 62
handle the 50-year 24-hour storm in 50 United States cities are projected to range from $1.1 to

$12 billion and that, without adaptation, unmitigated climate change is projected to result in $5

trillion in damages for coastal property due to sea level rise. Federal Defendants otherwise

deny the allegations in this paragraph as stated.

       254.    Federal Defendants admit that an EPA study has projected that without

reductions in GHG emissions, the resulting increases in extreme heat would lead to unsuitable

working conditions and a large negative impact on United States labor hours—specifically, a

decrease of 1.8 billion labor hours, with about $170 billion in lost wages in 2100. The

remaining allegations in Paragraph 254 are too vague for Federal Defendants to admit or deny;

to the extent a response is required, Defendants lack sufficient knowledge or information to

determine the truth of the remaining allegations.

       255.    With respect to the first sentence, Federal Defendants admit that estimates made

assuming no change in regulatory controls or population assessments have ranged from 1,000

to 4,300 additional premature deaths national per year by 2050 from combined ozone and

particle health effects, although there is less certainty in the responses of airborne particles to

climate change than there is about the response of ozone. With respect to the allegations in the

second sentence, Federal Defendants admit that climate change is expected to increase ground-

level ozone pollution over broad areas of the country due to surface temperature and other

impacts, including large metropolitan population centers, and admit that ground-level ozone

can affect the respiratory system, including through irritation of the airways, reductions in lung

function, aggravation of asthma, and airway inflammation. Federal Defendants lacks sufficient

knowledge or information to determine the truth of the allegations in the third sentence.

Federal Defendants deny the remaining allegations in this paragraph as stated.



                                                    63
“VII. RESTORING THE ENERGY BALANCE AND PROTECTING AGAINST A DANGEROUS
      DESTABILIZED CLIMATE SYSTEM IS POSSIBLE BASED ON BEST AVAILABLE SCIENCE”

       256.    The allegations in this paragraph consist of conclusions of law to which no

response is required. To the extent a response is required, Federal Defendants deny the

allegations.

       257.    Federal Defendants deny the allegations, and aver that there is no scientific

consensus that 350 ppm is the maximum safe level of atmospheric CO2 concentration that is

necessary to restore a stable climate system.

       258.    Federal Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph. Federal Defendants aver that there is no

scientific consensus that 350 ppm is the maximum safe level of atmospheric CO2 concentration

that is necessary to restore a stable climate system.

       259.    Federal Defendants lack sufficient knowledge or information to determine the

truth of the allegations in the first sentence. With respect to the second sentence Federal

Defendants admit that the oceans have absorbed about 28 percent of the CO2 produced by

human activities over the past 250 years, leading to an increase in surface ocean acidity of

about 30 percent, with impacts on those ocean organisms that use carbonate in their shells and

skeletons, putting a number of such organisms at risk and thereby impacting larger ecosystems

as well. Federal Defendants deny the remainder of the second sentence as stated. Federal

Defendants lack sufficient knowledge or information to determine the truth of the allegations in

the third sentence.

       260.    With respect to the first sentence, Federal Defendants admit that scientific

evidence shows that elevated CO2 concentrations have caused ocean acidification and ocean

warming. Federal Defendants aver that the important details of the effects of elevated CO2 on



                                                 64
the ocean and the marine environment are not widely understood until many decades

later. Federal Defendants lack sufficient knowledge or information to form a belief about the

truth of the remaining allegations in this sentence, and on this basis deny them. With respect to

the second and third sentences, Federal Defendants admit that scientific evidence shows that

elevated CO2 levels have caused adverse effects to coral reefs and associated wildlife. Federal

Defendants aver that there is uncertainty on the long-term effects of elevated CO2 on coral

reefs and associated wildlife. Federal Defendants lack sufficient knowledge or information to

form a belief about the truth of the remaining allegations in the second and third sentences, and

on this basis deny them.

       261.    Federal Defendants admit that current action by the United States will not

achieve global atmospheric CO2 levels of 350 ppm by the end of the century. Federal

Defendants deny the allegation that current actions by Federal Defendants are not based on any

scientific standard. Federal Defendants lack sufficient knowledge or information to determine

the truth of the remaining allegations.

       262.    Federal Defendants deny the allegations in this paragraph.

“VIII. THE FEDERAL GOVERNMENT’S ADMISSIONS OF ITS PUBLIC TRUSTEE OBLIGATIONS”

       263.    The allegations consist of legal conclusions to which no response is required.

       264.    The allegations quote from and characterize the National Environmental Policy

Act, 42 U.S.C. § 4331(b)(1) which speaks for itself and is the best evidence of its contents.

       265.    The allegations quote from and characterize federal statutes, 42 U.S.C. § 9607

and 33 U.S.C. § 2706, which speak for themselves and are the best evidence of their contents.

       266.    The allegations quote from and characterize a federal statute, 42 U.S.C. § 9607,

and a federal regulation, 42 C.F.R. § 300.600, which speak for themselves and are the best

evidence of their contents.


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        267.     The allegations consist of legal conclusions to which no response is required.

        268.     The allegations consist of legal conclusions to which no response is required.

        269.     The allegations consist of legal conclusions to which no response is required.

        270.     The allegations consist of legal conclusions to which no response is required.

        271.     The allegations consist of legal conclusions to which no response is required.

        272.     The allegations consist of legal conclusions to which no response is required.

        273.     The allegations consist of legal conclusions to which no response is required.

The allegations are also too vague for Federal Defendants to admit or deny.

        274.     The allegations quotes from and characterizing a complaint filed against British

Petroleum, which speaks for itself and is the best evidence of its contents.

        275.     The allegations appear to characterize a 1965 White House Report, “Restoring

the Quality of Our Environment,” which speaks for itself and is the best evidence of its

contents.

        276.     The allegations in the first sentence are too vague for Federal Defendants to

admit or deny. To the extent a response is required, Federal Defendants lack sufficient

knowledge or information to determine the truth of the allegations in the first sentence and

deny them on that basis. The allegations in the second and third sentences constitute legal

conclusions to which no response is required.

                                    “CLAIMS FOR RELIEF”

                                     “First Claim for Relief
                  Violation of the Due Process Clause of the Fifth Amendment


        277.     Federal Defendants incorporate all preceding paragraphs set forth in this Answer

as if set forth in full here.




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        278.     The allegations constitute legal conclusions to which no response is required.

        279.     The allegations constitute legal conclusions to which no response is required.

        280.     The allegations in the first sentence are too vague for Federal Defendants to

admit or deny. To the extent a response is required, Federal Defendants lack sufficient

knowledge or information to determine the truth of the allegations and deny them on that basis.

The allegations in the second, third, and fourth sentences constitute legal conclusions to which

no response is required.

        281.     The allegations constitute legal conclusions to which no response is required.

        282.     The allegations constitute legal conclusions to which no response is required.

        283.     The allegations constitute legal conclusions to which no response is required.

        284.     The allegations constitute legal conclusions to which no response is required.

        285.     The allegations constitute legal conclusions to which no response is required.

        286.     The allegations constitute legal conclusions to which no response is required.

        287.     The allegations constitute legal conclusions to which no response is required.

        288.     The allegations constitute legal conclusions to which no response is required.

        289.     The allegations constitute legal conclusions to which no response is required.

                                        “Second Claim for Relief
                                Violation of Equal Protection Principles
                                 Embedded in the Fifth Amendment”

        290.     Federal Defendants incorporate all preceding paragraphs set forth in this Answer

as if set forth in full here.

        291.     The allegations constitute legal conclusions to which no response is required.

        292.     The allegations constitute legal conclusions to which no response is required.

        293      The allegations constitute legal conclusions to which no response is required.




                                                   67
        294.     The allegations constitute legal conclusions to which no response is required.

        295.     The allegations constitute legal conclusions to which no response is required.

        296.     The allegations constitute legal conclusions to which no response is required.

        297.     The allegations constitute legal conclusions to which no response is required.

        298.     The allegations constitute legal conclusions to which no response is required.

        299.     The allegations constitute legal conclusions to which no response is required.

        300.     The allegations constitute legal conclusions to which no response is required.

        301.     The allegations constitute legal conclusions to which no response is required.

                                  “Third Claim for Relief
                       The Unenumerated Rights Preserved for the People
                                 by the Fifth Amendment”


        302.     Federal Defendants incorporate all preceding paragraphs set forth in this Answer

as if set forth in full here.

        303.     The allegations constitute legal conclusions to which no response is required.

        304.     The allegations constitute legal conclusions to which no response is required.

        305.     The allegations constitute legal conclusions to which no response is required.

        306.     The allegations constitute legal conclusions to which no response is required.

                                       “Fourth Claim for Relief
                                Violation of the Public Trust Doctrine”


        307.     Federal Defendants incorporate all preceding paragraphs set forth in this Answer

as if set forth in full here.

        308.     The allegations constitute legal conclusions to which no response is required.

        309.     The allegations constitute legal conclusions to which no response is required.

        310.     The allegations constitute legal conclusions to which no response is required.



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                                   “PRAYER FOR RELIEF”

        The remaining allegations set forth in the Complaint consist of Plaintiffs’ prayers for

relief to which no response is required. To the extent a response is required, Federal

Defendants deny that Plaintiffs are entitled to the relief requested or any relief whatsoever.

                                      GENERAL DENIAL

        Federal Defendants deny any and all allegations in the Complaint, whether express or

implied, that are not otherwise specifically admitted, denied, or qualified herein.

                                 AFFIRMATIVE DEFENSES

        Federal Defendants state the following affirmative defenses:

1.      Plaintiffs’ claims do not present an Article III case or controversy

2.      Plaintiffs’ claims are barred by a lack of standing.

3.      Plaintiffs fail to state a claim upon which relief may be granted for some or all of the

claims in the Complaint.

4.      Plaintiffs’ requested relief contains an improper collateral attack on agency actions by

the DOI, DOE, and FERC, which is prohibited by the Administrative Procedure Act.

5.      Plaintiffs failed to exhaust their administrative remedies.

6.      Plaintiffs’ claims are preempted by the Clean Air Act.

7.      Plaintiffs’ requested relief seeks effective repeal of numerous duly enacted federal

statutes.

8.      Plaintiffs’ requested relief seeks effective vacatur of numerous duly issued federal

regulations in violation of the separation of powers principles implicit in the Constitution.

9.      Plaintiffs’ requested relief is barred by Article I of the Constitution, which vests

legislative powers in the Congress.




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10.    Plaintiffs’ requested relief is barred by Article II, which vests executive powers in the

President.

11.    Plaintiffs’ requested relief is barred by international agreements entered into by the

United States.

12.    Plaintiffs’ requested relief is barred by of separation of powers principles implicit in the

Constitution.

        Dated: January 13, 2017                    Respectfully submitted,
                                                   JOHN C. CRUDEN
                                                   Assistant Attorney General
                                                   Environment & Natural Resources Division


                                                   /s/ Sean C. Duffy
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                                                   Attorneys for Federal Defendants




                                      Certificate of Service

       I hereby certify that on January 13, 2017, I filed the foregoing with the Clerk of Court via

the CM/ECF system, which will provide service to all attorneys of record.


                                                   /s/ Sean C. Duffy
                                                   Sean C. Duffy
                                                   Attorney for Federal Defendants




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